 Case 7:19-cv-00349-MFU Document 6 Filed 06/17/19 Page 1 of 1 Pageid#: 34
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      Plaintiff,                                        CivilA ction N o.: 7:19-cv-349

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                                                        By:M ichaelF.U rbansld
      Defendants.                                       ChiefUnited StatesDisttictJudge
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